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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC
 FILTERS MARKETING, SALES
 PRACTICES AND PRODUCT
 LIABILITY LITIGATION                                      Case No. 1:14-ml-2570-RLY-TAB
                                                                   MDL No. 2570
 This Document Relates to:

 Riker, Roberta (deceased) and Riker, David
 (heir of Roberta Riker)

 Case No. 1:16-cv-00592


                       STIPULATED DISMISSAL WITH PREJUDICE

        The parties in the above-captioned case hereby stipulate, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), that Plaintiff’s claims against all Defendants shall be dismissed with

prejudice. Each party shall bear its own fees and costs.



Dated: July 26, 2022


                                                   /s/ Andrea Roberts Pierson
                                                   Andrea Roberts Pierson
 Shezad Malik                                      FAEGRE DRINKER BIDDLE &
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of July, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.



                                                    /s/ Andrea Roberts Pierson




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